                            Fourth Court of Appeals
                                   San Antonio, Texas
                                         JUDGMENT
                                       No. 04-24-00125-CV

                            IN THE INTEREST OF F.S.F., a Child

                   From the 288th Judicial District Court, Bexar County, Texas
                                Trial Court No. 2022-PA-01896
                      Honorable Charles E. Montemayor, Judge Presiding

  BEFORE CHIEF JUSTICE MARTINEZ, JUSTICE RIOS, AND JUSTICE VALENZUELA

        In accordance with this court’s opinion of this date, the trial court’s order terminating the
parental rights of Mother is AFFIRMED. We ORDER that no costs be assessed against appellant
in relation to this appeal because she is presumed indigent under Texas Family Code section
107.013(e).

       SIGNED August 14, 2024.


                                                  _____________________________
                                                  Rebeca C. Martinez, Chief Justice
